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   8
        [Additional counsel listed on signature page]
   9
                             UNITED STATES DISTRICT COURT
  10
                            CENTRAL DISTRICT OF CALIFORNIA
  11

  12
        ANDREW TRAMPE, Individually                    Case No. CV 20-11627 FMO (RAOx)
  13    and On Behalf of All Others Similarly
        Situated,
  14                                                   JOINT MOTION FOR ORDER
                        Plaintiff,                     INCREASING PAGE LIMITATION FOR
  15                                                   DEFENDANTS’ MOTION TO DISMISS
              v.                                       CONSOLIDATED CLASS ACTION
  16                                                   COMPLAINT, PLAINTIFFS’
        CD PROJEKT S.A., ADAM MICHAL                   OPPOSITION, AND DEFENDANTS’
  17    KICINSKI, MARCIN IWIŃSKI,                      REPLY
        PIOTR MARCIN NIELUBOWICZ,
  18    and MICHAŁ NOWAKOWSKI                          Judge: Hon. Fernando M. Olguin
  19                    Defendants.
  20

  21         Defendants CD Projekt S.A., Adam Michał Kiciński, Marcin Iwiński, Piotr
  22   Marcin Nielubowicz, and Michał Nowakowski (collectively, “Defendants”) and
  23   Lead Plaintiff James W. Gordley and additional plaintiffs Steven Shaginyan and
  24   Phillip Trefethen (collectively, “Plaintiffs,” and together with Defendants, the
  25   “Parties”), stipulate and propose as follows:
  26         WHEREAS, on May 14, 2021, the Court entered an Order Consolidating
  27   Related Actions, Appointing Lead Plaintiff and Lead Counsel, and set a deadline of
  28   May 28, 2021 to file a Consolidated Amended Complaint. [Docket No. 38];
                                                             JOINT MOTION INCREASING PAGE LIMIT
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   1          WHEREAS, on May 21, 2021, the Court entered an Order on the Parties’
   2   stipulation and extended the deadline to file a Consolidated Amended Complaint to
   3   June 28, 2021. [Docket No. 40];
   4          WHEREAS, on June 28, 2021, Plaintiffs filed a Consolidated Class Action
   5   Complaint containing two claims against Defendants for alleged violations of Section
   6   10(b) of the Securities Exchange Act of 1934 (“Exchange Act”) and U.S. Securities
   7   and Exchange Commission Rule 10b-5 promulgated thereunder (Count 1) and
   8   Section 20(a) of Exchange Act (Count 2). [Docket No. 41];
   9          WHEREAS, Defendants’ response to the Consolidated Class Action
  10   Complaint is due by August 12, 2021, and Defendants intend to file a Motion to
  11   Dismiss the Consolidated Class Action Complaint (“Motion to Dismiss”).
  12          WHEREAS, in their forthcoming Motion to Dismiss, Defendants will argue
  13   that: (1) the Court lacks personal jurisdiction; (2) Plaintiffs’ claims are impermissibly
  14   extraterritorial and/or otherwise fail to satisfy Section 10(b)’s requirement that there
  15   be a causal connection between the fraud and the securities at issue; (3) Poland, not
  16   the Central District of California, is the more appropriate forum in which to
  17   adjudicate this dispute; (4) Plaintiffs fail to adequately plead an actionable false or
  18   misleading statement; and (5) Plaintiffs fail to adequately plead scienter. The Parties
  19   believe they will need more pages than are provided under the local rules to
  20   adequately brief these many distinct issues, some of which require addressing multi-
  21   factor legal tests.
  22          THEREFORE, the Parties agree and stipulate, through their respective
  23   counsel, subject to the Court’s approval under Local Civil Rule 11-6, that Defendants
  24   shall have up to 40 pages for their memorandum in support of their Motion to
  25   Dismiss, Plaintiffs shall have up to 40 pages for their memorandum in opposition to
  26   the Motion to Dismiss, and Defendants shall have up to 20 pages for their reply
  27   memorandum.
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       Dated:       July 27, 2021                   THE ROSEN LAW FIRM, P.A.
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   2
                                                    By: /s/ Jonathan Stern
   3                                                   Jonathan Stern (pro hac vice)
   4                                                Attorneys for Plaintiffs
   5

   6   Dated:       July 27, 2021                   COOLEY LLP
   7

   8                                                By: /s/ Ryan E. Blair
                                                       Ryan E. Blair (246724)
   9
                                                    Attorneys for Defendants
  10                                                CD Projekt S.A., Adam Michał
                                                    Kiciński, Marcin Iwiński, Piotr Marcin
  11                                                Nielubowicz, and Michał Nowakowski
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  13
                               SIGNATURE CERTIFICATION
  14
             Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
  15
       Policies and Procedures Manual, I hereby certify that the content of this document is
  16
       acceptable to Jonathan Stern, and that I have obtained his authorization to affix his
  17
       electronic signature to this document.
  18
       Dated:       July 27, 2021                   COOLEY LLP
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                                                    By: /s/ Ryan E. Blair
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                                                       Ryan E. Blair (246724)
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